Case 2:05-Cr-20265-BBD Document 7 Filed 08/10/05 Page 1 of 2 Page|D 10

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IN THE UNITED STATES DISTRICT CoURT '
FoR THE WESTERN DISTRICT oF TENNESS@§ AUG m AH ,U. .,
WESTERN DIVISION ‘ ~ 5

 

UNITED STATES OF AMERICA

 

V. 05-20265-D

JOSEPH HAND

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on AL” M/&, 913 0 °5" , the United States Attorney
for this district appeared on behalf of the gover\riment, and the defendant appeared in person and with
counsel:

NAME 155 /“‘ r°e”R `3, 3 urea co who is Retained/m

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

"G defendant, Who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal pri soner)
(being held without bond pursuant to BRA of 1 984), is remanded to the custody of the U.S. Marshal.

§§ %/v @,,)

UNITED STATES MAGISTRATE JUDGE

CHARGES: 18:1343 & 2;

U. S. Attorney assigned to Case: S. Parker

Age: L[S

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with E-lule 55 and/or 32{b) FFlCrP on

  
 

UNITED SAS,TE DSTRIC COURT - WESTER DISTRICT OF TENNESSEE

  
 

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This notice confirms a copy of the document docketed as number 7 in
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Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

